                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

SABRINA BRIONY DUNCAN,                              )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )
                                                    )          Case No. 6:21-cv-03280-RK
JACK HENRY & ASSOCIATES, INC.;                      )
THE JACK HENRY & ASSOCIATES,                        )
INC. GROUP HEALTH BENEFIT                           )
PLAN; UMR, INC.; and QUANTUM                        )
HEALTH, INC.,                                       )
                                                    )
                Defendants.                         )

                               PLAINTIFF’S STATUS REPORT

       Plaintiff submits this status report in accordance with the Court’s prior orders, ECF Nos.

116 and 119. The Parties have executed the settlement agreement and have substantially performed

their duties under it. Plaintiff anticipates that settlement will be perfected by March 17, 2023. The

Parties will either submit the appropriate filings to dismiss this case or, with the Court’s leave,

Plaintiff will submit a further status report by March 17, 2023.

Dated: February 28, 2023                      Respectfully submitted,

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                                              By:       /s/ Caroline E. Reynolds

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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 28, 2023 a true and correct copy of the foregoing was
filed with the Court using the Court’s CM/ECF system and served upon all parties of record.


                                                           /s/ Caroline E. Reynolds




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